Case 1:09-cv-00597-LMB-TCB Document 127 Filed 06/17/10 Page 1 of 2 PageID# 1934


             IN THE UNITED STATES DISTRICT COURT FOR
                         EASTERN DISTRICT OF VIRGINIA
                                                                              I
                             Alexandria Division
                                                                 y      JUN I 7 2010
 INTERSECTIONS,   e_t   al.                                      CLERK, U.S. DISTRICT COURT
                                                                     ALEXANDRIA. VIRGINIA

            Plaintiffs,
                                                 1:09CV597(LMB/TCB)
v.



JOSEPH C.   LOOMIS,     et al..


            Defendants.



                                     ORDER


     As the parties'          Status Report makes clear,   the March l,    2010

trial of this case was cancelled after the Court was advised that

this civil action had settled.           Plaintiffs contend that an

enforceable settlement was reached, however, defendant Joseph C.

Loomis, who filed for bankruptcy protection shortly after the

alleged settlement was reached,         disputes that conclusion.       Co-

defendant, Jenni M. Loomis, also appears to be pulling away from

the alleged settlement arguing that her brother's bankruptcy

materially changes her liability and that she had not considered

such a material change of circumstance when she participated in

the settlement process.

     On April 26,       2010,   the bankruptcy court granted partial

relief from the automatic stay solely to determine the

enforceability of the settlement.          The parties have requested in

their Status Report that the Court set a briefing schedule and an

evidentiary hearing to determine the enforceability of the
Case 1:09-cv-00597-LMB-TCB Document 127 Filed 06/17/10 Page 2 of 2 PageID# 1935


 settlement agreement.

        Finding that the parties have had several weeks to prepare
 their positions on this settlement issue, it is hereby

        ORDERED that the parties file their affirmative briefs

presenting any exhibits supporting their positions by June 30,

2010.     Opposition briefs with any supporting exhibits are due by

July 14, 2010 and any reply briefs must be filed by July 19,

2010,    and it is   further


        ORDERED that the parties contact Judge Buchanan's chambers

within ten (10) days of the date of this Order to set a date for

an evidentiary hearing before Judge Buchanan, who will prepare a

Report and Recommendation for this Court.

        The Clerk is directed to forward copies of this Order to
counsel of record.


        Entered this   If   day of June, 2010.




Alexandria,   Virginia


                                            UomeM.BrinkW
                                            Umted States District Judge
